 8:02-cr-00107-JFB-FG3              Doc # 92   Filed: 10/13/05    Page 1 of 1 - Page ID # 117



                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                      )            Case No. 8:02CR107
                                               )
                       Plaintiff,              )
                                               )
       v.                                      )                     ORDER
                                               )
MICHAEL BENTLEY,                               )
                                               )
                       Defendant.              )


       Defendant Michael Bentley appeared before the court on October 13, 2005 on a Petition
for Warrant for Offender Under Supervision [86]. The defendant was represented by Assistant
Public Defender Julie B. Hansen and the United States was represented by Assistant U.S. Attorney
Robert Sigler. The defendant admits allegations 1, 2 and 3. The defendant’s oral motion to
continue the final disposition hearing is granted.
       IT IS ORDERED:

       1. A final disposition hearing in this matter is scheduled in Courtroom 3, Third Floor, Roman
L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska, at 8:30 a.m., on November
22, 2005.
       2. Defendant is remanded to the custody of the United States Marshal.


       Dated this 13th day of October, 2005.


                                               BY THE COURT:




                                                s/ Joseph F. Bataillon
                                               JOSEPH F. BATAILLON
                                               United States District Judge
